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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF GEORGIA
                            VALDOSTA DIVISION

JERRY McLEOD,                  *
                               *
                   Plaintiff,  *
                               *
         v.                    *              Civil Action No. 7:20-cv-244
                               *
MIKE DEWEY and MIKE BASS,      *
                               *
                   Defendants. *


            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      COME NOW Defendants in the above-styled case, and pursuant to Federal Rule

of Civil Procedure 56, move this Court to enter summary judgment in their favor on all

claims. This grounds for the motion are fully discussed in Defendants’ Memorandum

of Law filed contemporaneously herewith. Pursuant to Middle District of Georgia Local

Rule 56, a Statement of Undisputed Material Facts is also filed contemporaneously

herewith.

      Respectfully submitted this 6th day of February, 2024.

                                       BROWN, READDICK, BUMGARTNER,
                                       CARTER, STRICKLAND & WATKINS, LLP
                                       /s/ Bradley J. Watkins
                                       Bradley J. Watkins
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                            CERTIFICATE OF SERVICE



      This is to certify that I have this day served all parties in this case in accordance

with the directives from the Court Notice of Electronic Filing (“NEF”), which was

generated as a result of electronic filing. In addition, a copy of this filing has been

emailed to pro se Plaintiff at the following address: jmcleod263@gmail.com



      Submitted this 6th day of February, 2024.

                                         /s/ Brad Watkins
                                         Bradley J. Watkins
                                         Georgia Bar Number: 740299

                                         ATTORNEY FOR DEFENDANTS

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